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 7   United States of America

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. 1:14-CR-00228-LJO-SKO

12                         Plaintiff,                   UNITED STATES’ REQUEST TO VACATE
                                                        STATUS HEARING REGARDING THE
13                  v.                                  ANCILLARY PROCEEDING; ORDER

14   BRANDON MICHAEL THOMAS,
     MIGUEL H. GONZALEZ,
15   PETER SANTO CAPODIECI,
     CHAD ALLEN RIFFLE,
16   BREE ANN BENSON,
     ASEEL AIMEN AL-SABER,
17   ASHLY STARLING WILLIAMS, and
     JEREMY MICHAEL MURPHY,
18
                           Defendants.
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20          The United States respectfully requests that the Status Hearing regarding the ancillary

21   proceeding presently set for Monday, February 5, 2018 at 8:30 a.m., before the Honorable

22   Lawrence J. O’Neill, be vacated on account of the Notice of Withdrawal of Claim filed by

23   Michael Paz on February 2, 2018. The United States will submit a proposed Final Order of

24   Forfeiture within the next 45 days.

25   Dated: January 19, 2018                              McGREGOR W. SCOTT
                                                          United States Attorney
26
                                                  By:      /s/ Jeffrey A. Spivak
27                                                        JEFFREY A. SPIVAK
                                                          Assistant U.S. Attorney
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 1                                               ORDER

 2          Based on the request of the United States, and the withdrawal of claim of Michael Paz, it

 3   is hereby ordered that the Status Conference set for Monday, February 5, 2018, at 8:30 a.m. in

 4   Courtroom 4, be vacated.

 5          The United States shall submit its proposed Final Order of Forfeiture within 45 days of

 6   entry of this Order.

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 8   IT IS SO ORDERED.
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        Dated:     February 2, 2018                       /s/ Lawrence J. O’Neill _____
10                                               UNITED STATES CHIEF DISTRICT JUDGE

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